   EXHIBIT D




Case 3:17-cv-00902 Document 367-2 Filed 05/25/23 Page 1 of 5 PageID #: 12505
                UNITED STATES of AMERICA

                                    vs

   METHODIST LE BONHEUR HEALTHCARE, et al.




                            TIM SMITH
                           March 21, 2023




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                                              Page 33                                                 Page 35
·1   relevant to the opinions you're offering in        ·1   became Columbia/HCA.· And as part of that, I
·2   this matter?                                       ·2   worked -- I continued working for Medical Care
·3   A.· · Not currently.· I am the chair of a new      ·3   America then through that.· Now -- then through
·4   organization that is going to be -- that is        ·4   Columbia/HCA.
·5   currently now offering a compensation valuation    ·5   Q.· · What positions did you hold when you were
·6   credential.· It's the only thing in the            ·6   working at HCA?· What were your titles?
·7   industry.· I'm the chair of the credential         ·7   A.· · Yeah.· Well, if I may, just one other --
·8   committee.                                         ·8   to be clear.· I want to be clear.· So I was an
·9   Q.· · Okay.· So that may be a new accreditation    ·9   independent contractor up until -- I think I
10    that's available in the future?                   10    became an employee roughly in January of
11    A.· · Yes, that will be coming.· But I            11    twenty -- no.· 1997.· And then I was an
12    currently -- no one currently has.· We haven't    12    employee through, I think, the end of August of
13    even done all the training yet.· That's what      13    2008.
14    I've got to work on next week, actually.          14    Q.· · Okay.
15    Q.· · As of -- as of now there are no             15    A.· · Returning to your question:· So I
16    accreditations that you hold beyond the ABV       16    originally started as an analyst working for a
17    accreditation relevant to this matter?            17    guy at Medical Care America who was working on
18    A.· · Yes.                                        18    development deals for physician practices and
19    Q.· · You haven't attended law school?            19    IPAs.· They were dabbling in that area outside
20    A.· · No.                                         20    of surgery centers.· So I was his analyst who
21    Q.· · And don't hold yourself out as a legal      21    was analyzing those deals.
22    expert, correct?                                  22    Q.· · What positions did you hold at HCA after
23    A.· · That's correct.                             23    the analyst position?
24    Q.· · And you don't hold any compliance           24    A.· · So my title -- as I recall, my title when
25    certifications?                                   25    I was an employee during that whole period was


                                              Page 34                                                 Page 36
·1   A.· · No, I don't.                                 ·1   manager of development.
·2   Q.· · There are -- you're aware that there are     ·2   Q.· · Okay.
·3   various compliance certifications that are --      ·3   A.· · I think was my title.· I don't know if it
·4   that are available, correct?                       ·4   got bumped up to director of development. I
·5   A.· · Yes.                                         ·5   can't recall at the moment.
·6   Q.· · And you don't hold any of those?             ·6   Q.· · Okay.
·7   A.· · No.                                          ·7   A.· · But I was in the development department.
·8   Q.· · Did you go to work at HCA after you left     ·8   Q.· · During the time you were at HCA?
·9   Arthur Andersen?                                   ·9   A.· · Yes.
10    A.· · No.                                         10   Q.· · Okay.· In your report you note that you
11    · · · · · Would you like for me to give my        11   also served as an ethics and compliance
12    employment history from Arthur Andersen to --     12   officer.· Was that a formal title that you held
13    Q.· · I'll take the answer of no --               13   at HCA?
14    A.· · Okay.                                       14   A.· · That was a designation.· My recollection
15    Q.· · -- for now.                                 15   of that is that it was a designation that
16    · · · · · You worked at HCA from 1994 through     16   certain people had.· And this emerged post-CIA.
17    2008?                                             17   As you know, HCA -- or I assume you know, HCA
18    A.· · Yeah.· So here's -- here's the full story   18   was under CIA from about early 2001 through --
19    of that.· So I initially was -- I was a temp      19   I think it went through 2007 with the
20    that worked for a company called Medical Care     20   United States.· And as part of that --
21    America.· That started roughly in May of 1994.    21   obviously they had a CIA -- CIA means corporate
22    Medical Care America was a surgery-center         22   integrity agreement.· Those are common in
23    company.· That was bought out subsequently that   23   settlements.
24    fall -- September, October -- by what was         24   · · · · · HCA had to develop a rather robust,
25    Columbia.· Columbia then merged with HCA,         25   detailed, highly formal structure for


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· · ·with the following changes (if any):
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21     · · · · · · · · · · ________________________________
· · ·· · · · · · · · · · TIM SMITH
22
23     _________________________________
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· · ·My Commission Expires: ___________
25



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·2   · · · I, TIM SMITH, having read the foregoing
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21   · · · · · · · · · · ________________________________
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